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                     UNITED STATES COURT OF APPEALS                        FILED
                            FOR THE NINTH CIRCUIT                          NOV 22 2024
                                                                       MOLLY C. DWYER, CLERK
                                                                         U.S. COURT OF APPEALS
PERSONAL INJURY PLAINTIFFS; et al.,              No. 24-7037
                                                 D.C. No.
             Plaintiffs - Appellees,             4:22-md-03047-YGR
                                                 Northern District of California,
 v.                                              Oakland
META PLATFORMS, INC., f/k/a                      ORDER
Facebook, Inc.; et al.,

             Defendants - Appellants,

and

SNAP INC.; et al.,

             Defendants.

       For court efficiency and administration, the court has decided to process this

case as a Large Party Case. The court uses this administrative process to open

complex cases or those involving many parties.

       Defendant-appellants’ November 14, 2024, notice of appeal (District Court

Docket Entry No. 1330) seeks review of the district court’s October 15, 2024, and

October 24, 2024, orders (District Court Docket Entry Nos. 1214 and 1267).

       Due to the large number of potential plaintiffs-appellees, instead of listing

each appellee on the docket, the court has added plaintiff-appellee groupings that

appear to be subject to the district court’s orders on appeal. The groups are
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described as (1) personal injury plaintiffs; (2) local government and school district

plaintiffs; and (3) multistate attorney general plaintiffs. The court has added

liaison counsel for each of the groups. The court has separately added Florida

Office of the Attorney General, with its respective counsel, as a plaintiff-appellee.

         Within 14 days of the date of this order, liaison counsel for plaintiffs-

appellees must file a status report on this court’s docket that includes the following

information:

         (1) A statement confirming that the plaintiff-appellee groups for this appeal

            are complete and accurately described;

         (2) A complete list of all plaintiffs-appellees within each group using the

            attached template provided by the court. The list for each group must be

            separated into two categories: individual plaintiffs; and

            institutional/entity plaintiffs. The Clerk’s Office will email plaintiff-

            appellees liaison counsel a digital template for creating the lists.

         The status report filed on the docket must include a PDF version of the lists.

In addition to filing the status report on the docket, liaison counsel for plaintiffs-

appellees must also email a digital version of the lists to the Clerk’s Office at

EFilerHelp@ca9.uscourts.gov and copy counsel for defendants-appellants on the

email.




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      The mediation questionnaire deadline and a briefing schedule will be set by

further court order.

      The Clerk will serve this order on the district court for docketing in case no.

4:22-md-03047-YGR.



                                              FOR THE COURT:

                                              MOLLY C. DWYER
                                              CLERK OF COURT




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